Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 1 of 43 Page ID #:967




  1   C. Stuart Young (Cal Bar. No. 230031)
  2      syoung@dex.com
      3600 Via Pescador
  3   Camarillo CA 93012
      Phone: (805) 388-1711 • Fax: (805) 389-1726
  4   Attorney for Plaintiff,
  5   DEX Systems, Inc.

  6
                                UNITED STATES DISTRICT COURT
  7                            CENTRAL DISTRICT OF CALIFORNIA
  8
  9
 10   DEX SYSTEMS INC.,                                         )   Case No.: 2:15-cv-03841-JAK-RAO
      a California corporation,                                 )
 11                                                             )
                     Plaintiff,                                 )   PLAINTIFF DEX SYSTEMS’
 12                                                             )   APPENDIX (PART 2) OF EXHIBITS
              vs.                                               )   FILED IN SUPPORT OF ITS
 13   DEUTSCHE POST AG,                                         )   MEMORANDUM IN OPPOSITION TO
      a Foreign corporation,                                    )   DEFENDANT DHL SUPPLY CHAIN
 14   DEUTSCHE POST INTERNATIONAL B.V., )                           (NETHERLANDS) B.V.’S MOTION TO
      a Foreign corporation,                                    )   DISMISS FOR FORUM NON CON
 15   DHL SUPPLY CHAIN NETHERLANDS                              )   CONVENIENS AND MOTION FOR
 16   B.V., a Foreign corporation,                              )   JUDGMENT ON THE PLEADINGS
      and DOES 1-20,                                            )
 17                                                             )
                     Defendants.                                )   Date: May 13, 2019
 18   ---------------------------------------------------------     Time: 8:30 a.m.
                                                                    Crtrm.: 10B
 19                                                                 Judge: Hon. John A. Kronstadt
 20
 21
 22
 23
 24
 25
 26
 27
              PLAINTIFF DEX SYSTEMS’ EXHIBITS FILES IN SUPPORT OF ITS MEMORANDUM IN OPPOSITION
 28             TO DEFENDANT DHL SUPPLY CHAIN (NETHERLANDS) B.V.’S MOTION TO DISMISS


                                                         i
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 2 of 43 Page ID #:968




  1
                                           APPENDIX
  2
  3
                                        DECLARATIONS
  4
  5
      1. Leonard Schneeman
  6
  7   2. Alan Kheel

  8                                         EXHIBITS
  9
      A: Network Access Agreement
 10
 11   B: Non Disclosure Agreement

 12   C: Intel SOW and Agreement
 13
      D: Letter of Intent between DEX SUPPLY CHAIN SERVICES COOPERATIE U.A.
 14
 15   and DHL WORLDWIDE EXPRESS LOGISTICS NV

 16   E: EMAIL from Ruud de Groot to Stuart Young
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
            PLAINTIFF DEX SYSTEMS’ EXHIBITS FILES IN SUPPORT OF ITS MEMORANDUM IN OPPOSITION
 28           TO DEFENDANT DHL SUPPLY CHAIN (NETHERLANDS) B.V.’S MOTION TO DISMISS


                                                 i
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 3 of 43 Page ID #:969




  1   By: s/________________
  2      C. Stuart Young
        Attorney for Defendant,
  3     DEX Systems, Inc.
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27      PLAINTIFF DEX SYSTEMS’ MEMORANDUM IN OPPOSITION TO DEFENDANT DHL SUPPLY CHAIN
                              (NETHERLANDS) B.V.’S MOTION TO DISMISS
 28
                                                                                         1
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 4 of 43 Page ID #:970




  1
  2                                 PROOF OF SERVICE
  3   STATE OF CALIFORNIA                )
                                         )
  4   COUNTY OF VENTURA                  )
  5   I am over the age of eighteen and not a party to the within action. My business address is 3600 Via
      Pescador, Camarilla CA 93012
  6
      On March 26, 2019, I served the foregoing document(s) described as: Plaintiff’ Appendix of Exhibits
  7   upon
  8   Anthony White, Thompson Hine LLP, 41 S. High St. Suite 1700, Columbus Ohio 43215;
      John Conkle 3130 Wilshire Boulevard Suite 500 Santa Monica CA 90403-2351
  9
      XX (ELECTRONIC MAIL) Service by electronic mail. I caused a true copy of the foregoing
 10   document to be sent via electronic mail in pdf. format to the individuals listed above.
 11
 12   XX_ (BY U. S. MAIL) I am "readily familiar" with the firm's practice of collection and processing
          correspondence for mailing. Under that practice it would be deposited with U.S. Postal Service
 13       on that same day with postage thereon fully prepaid at Los Angeles, California in the ordinary
 14       course of business

 15   _XX_ (BY CM/ECF NOTICE OF ELECTRONI FILING : I caused said documents to be served by
           means of this Court’s electronic transmission of the Notice of Electronic Filing through the
 16        Court’s transmission facilities to the parties and/or counsel who are registered CM/ECF Users set
 17        forth in the service list obtained from this Court.

 18          (BY OVERNIGHT MAIL) I caused said envelope(s) to be delivered overnight via an overnight
             delivery service in lieu of delivery by mail to the addressee(s).
 19
      XX     (STATE) I declare under penalty of perjury under the laws of the United States of America that
 20          the foregoing is true and correct and that I am employed in the office of a member of the bar of
 21          this Court at whose direction the service was made.

 22          (FEDERAL) I declare that I am a member of the bar of this Court.
 23   Executed on March 26, 2019, at Camarillo, California.
 24   ____________________
      C. Stuart Young
 25
 26
 27       PLAINTIFF DEX SYSTEMS’ MEMORANDUM IN OPPOSITION TO DEFENDANT DHL SUPPLY CHAIN
                               (NETHERLANDS) B.V.’S MOTION TO DISMISS
 28
                                                                                                            2
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 5 of 43 Page ID #:971




  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27      PLAINTIFF DEX SYSTEMS’ MEMORANDUM IN OPPOSITION TO DEFENDANT DHL SUPPLY CHAIN
                              (NETHERLANDS) B.V.’S MOTION TO DISMISS
 28
                                                                                         3
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 6 of 43 Page ID #:972



  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 7 of 43 Page ID #:973
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 8 of 43 Page ID #:974
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 9 of 43 Page ID #:975
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 10 of 43 Page ID
                                  #:976
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 11 of 43 Page ID
                                  #:977
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 12 of 43 Page ID
                                  #:978
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 13 of 43 Page ID
                                  #:979
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 14 of 43 Page ID
                                  #:980
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 15 of 43 Page ID
                                  #:981
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 16 of 43 Page ID
                                  #:982
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 17 of 43 Page ID
                                  #:983
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 18 of 43 Page ID
                                  #:984
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 19 of 43 Page ID
                                  #:985
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 20 of 43 Page ID
                                  #:986
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 21 of 43 Page ID
                                  #:987
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 22 of 43 Page ID
                                  #:988
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 23 of 43 Page ID
                                  #:989
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 24 of 43 Page ID
                                  #:990
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 25 of 43 Page ID
                                  #:991
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 26 of 43 Page ID
                                  #:992
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 27 of 43 Page ID
                                  #:993
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 28 of 43 Page ID
                                  #:994
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 29 of 43 Page ID
                                  #:995
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 30 of 43 Page ID
                                  #:996
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 31 of 43 Page ID
                                  #:997
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 32 of 43 Page ID
                                  #:998
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 33 of 43 Page ID
                                  #:999
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 34 of 43 Page ID
                                 #:1000
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 35 of 43 Page ID
                                 #:1001
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 36 of 43 Page ID
                                 #:1002
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 37 of 43 Page ID
                                 #:1003
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 38 of 43 Page ID
                                 #:1004
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 39 of 43 Page ID
                                 #:1005
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 40 of 43 Page ID
                                 #:1006
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 41 of 43 Page ID
                                 #:1007
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 42 of 43 Page ID
                                 #:1008
Case 2:15-cv-03841-JAK-RAO Document 77-2 Filed 03/26/19 Page 43 of 43 Page ID
                                 #:1009
